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                             IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In Re,                                                   Bankruptcy No. 23-12685-amc

 MICHAEL S. KEARNEY                                       Chapter 13
 STACEY L. KEARNEY,
     Debtors,

 CONSUMER PORTFOLIO SERVICES, INC,

          Movant,

                    v.

 MICHAEL S. KEARNEY,
 STACEY L. KEARNEY, and
 KENNETH E WEST, Trustee,
     Respondents.

                          MOTION FOR RELIEF FROM THE AUTOMATIC STAY

          AND NOW, comes Movant, Consumer Portfolio Solutions, Inc. (the “Movant”), by and through

its undersigned counsel, Bernstein-Burkley, P.C., and files this Motion for Relief from the Automatic

Stay (the “Motion”), representing as follows:

                                                 THE PARTIES

          1.        Respondent, Michael S. Kearney, and Stacey L. Kearney, (the “Debtors”) are adult

individuals with a place of residence located at 472 Scott Drive, West Chester, Pa 19380.



          2.        Kenneth E. West, is the duly appointed Chapter 13 Trustee and is currently acting in such

capacity.

                                        JURISDICTION AND VENUE

          3.        This matter is a core proceeding and this Court has jurisdiction pursuant to 28 U.S.C. §

1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. Movant seeks relief pursuant to 11

U.S.C. § 362(d) and FRBP 4001 and 9014.
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                                       FACTUAL BACKGROUND

        4.      On or about September 8, 2023, the Debtors filed a voluntary petition for relief pursuant

to Chapter 13 of the Bankruptcy Code.

        5.      On or about December 12, 2022, the Debtors purchased a 2017 Nissan Murano, VIN#

5N1AZ2MH3HN170501 (the “Vehicle”), pursuant to a Retail Installment Contract (the “Contract”) with

the Movant, a true and correct copy of which is attached hereto as Exhibit A.

        6.      Movant has a secured interest in the Vehicle, as evidenced by the Certificate of Title

attached hereto as Exhibit B.

        7.      The Contract requires monthly payments of $628.56, which amounts are due on or before

the 9th of each month.

        8.      As of the date of this Motion, the Debtors are in default of their payment obligations to

Movant in the amount of $2,513.59. The Debtors are currently due for the payment due on December 9,

2023.

        9.      The Debtors’ Chapter 13 Plan states that payments to Movant will be made outside the

Plan.

        10.     The gross balance due on the Contract is $27,182.81.

        11.     The N.A.D.A value for the 2017 Nissan Murano, VIN# 5N1AZ2MH3HN170501 is

$10,600.00. A true and correct copy of a printout showing that value is attached hereto as Exhibit C.

Therefore, there is no equity in the collateral, the Debtors are still responsible for making monthly

payments to Movant.

        12.     Movant is entitled to relief from the automatic stay for cause, including the lack of

adequate protection, because the Debtors have failed to make post-petition payments to Movant. 11

U.S.C. §362(d)(1).
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        WHEREFORE, Movant, Consumer Portfolio Solutions, Inc., respectfully requests that this

Honorable Court enter an Order, pursuant to 11 U.S.C. § 362(d), granting Movant relief from stay with

respect to the 2017 Nissan Murano, VIN# 5N1AZ2MH3HN170501.


                                                         Respectfully submitted,

                                                         BERNSTEIN-BURKLEY, P.C.

                                                         By: /s/ Keri P. Ebeck
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                                                         Counsel for Consumer Portfolio Solutions, Inc.

Dated: May 3, 2024
